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                                                                                        10/21/2020


                                             THE CITY OF NEW YORK
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                                                                           October 20, 2020
        BY ECF
        Hon. Alison J. Nathan
        United States District Court
        Southern District of New York
        40 Foley Square, Room 2102
        New York, NY 10007

                          Re:   L.M. obo L.M. v. N.Y.C. Dep’t of Educ., 20-cv-4246 (AJN)

        Dear Judge Nathan,

                I am an Assistant Corporation Counsel assigned to the defense of the above action,
        wherein Plaintiff seeks attorneys’ fees and costs for legal work on an administrative hearing
        under the Individuals with Disabilities Education Act, 20 U.S.C. § 1400, et seq. (“IDEA”), as
        well as for this action. I write on behalf of the parties in response to the Court’s October 19,
        2020 Order, Dkt. No. 17, wherein Your Honor directs the parties to belatedly submit a joint letter
        and proposed case management plan, both of which were due but not filed on October 16, 2020.
        For the reasons stated below, the parties jointly request that Your Honor adjourn the initial
        conference currently scheduled for October 23, 2020, sine die or to a date subsequent to
        December 5, 2020, and postpone the parties’ related obligations pursuant to Your Honor’s
        Individual Practices, Section 2.B, to file a joint letter and proposed case management plan.

                As this Office reported in Defendant’s October 2, 2020 letter motion for an extension of
        time to file an answer, on consent, Dkt. No. 14, Defendant will review Plaintiffs’ counsel’s fee
        demand and billing records, and the parties will attempt to resolve this matter without further
        burdening the Court. Pursuant to the Court’s October 6, 2020 Order, Dkt. No. 16, issued in
        response to Defendant’s October 2, 2020 letter motion, Defendant’s answer is due on December
        5, 2020, and the parties will therefore work to reach a settlement agreement prior to that date.

                 I was assigned to this action late last week, and I was furloughed on Friday, October 16,
        2020, pursuant to the Mayor’s Personnel Order No. 2020/2. It was an oversight by this Office to
        presume that the Court’s October 6, 2020 Order adjourning Defendant’s answer deadline did not
        lift the parties’ obligation to file a joint letter and proposed case management plan on October
        16, 2020, and it was an oversight to presume that the Order did not affect the initial conference
        scheduled for October 23, 2020. However, given that Defendant’s answer is not due until
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December 5, 2020, and because the parties are actively engaging in settlement discussions, the
parties respectfully submit that the initial conference is not necessary at this time. Therefore, the
parties respectfully request that the conference, if necessary, be adjourned sine die or to a date
after December 5, 2020, and that the parties be allowed to submit a joint letter and proposed case
management plan, if at all, seven days prior to that conference.

        Thank you for your consideration of this request.

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